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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MARYLAND


 AMERICAN COLLEGE OF
 OBSTETRICIANS AND
 GYNECOLOGISTS, on behalf of its members
 and members’ patients,
 COUNCIL OF UNIVERSITY CHAIRS OF
 OBSTETRICS AND GYNECOLOGY, on
 behalf of its members and members’ patients,
 NEW YORK STATE ACADEMY OF
 FAMILY PHYSICIANS, on behalf of its
 members and members’ patients,
 SISTERSONG WOMEN OF COLOR
 REPRODUCTIVE JUSTICE COLLECTIVE,
 on behalf of its members and members’
 patients, and
 HONOR MACNAUGHTON, M.D.,

        Plaintiffs,
                                                      Civil Action No. TDC-20-1320
        v.

UNITED STATES FOOD AND DRUG
ADMINISTRATION,
STEPHEN M. HAHN, M.D., in his official
capacity as Commissioner of Food and Drugs,
and his employees, agents and successors in
office,
UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES and
ALEX AZAR, J.D., in his official capacity as
Secretary, United States Department of
Health and Human Services, and his
employees, agents and successors in office,

        Defendants.



                                         NOTICE

       A Case Management Conference, to be conducted by telephone, is scheduled for Tuesday,

October 13, 2020 at 3:00 p.m.
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       To join the call at the scheduled time:

       1.      Dial 1-888-557-8511.
       2.      Enter access code 3008173, followed by the # key. You will then be placed on hold
               until Chambers dials into the call, at which point you will be prompted to enter a
               security code.
       3.      When prompted, enter security code 10130300 followed by the # key.

The call will be recorded, so please do not use speakerphones as they compromise sound quality.

Also, we ask that parties not remain on the conference line after the Judge has left the call, to

ensure that the line is free for other calls that may be on the Judge’s calendar.




Date: October 9, 2020                                  /s/ Theodore D. Chuang
                                                      THEODORE D. CHUANG
                                                      United States District Judge




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